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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI-DADE DIVISION

                                              CASE NO.

  JORGE JUAN RIZO OLMEA, individually, and on
  behalf of others similarly situated,

         Plaintiff,

  v.                                                            CLASS ACTION

  BUSPATROL AMERICA, LLC, MIAMI-DADE
  COUNTY, and THE SCHOOL BOARD OF
  MIAMI-DADE COUNTY, FL,

        Defendants.
  ___________________________________________

              CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff, JORGE JUAN RIZO OLMEA (“Plaintiff” or “Olmea”), individually, and on

  behalf of all others similarly situated, hereby files suit against Defendants, BUSPATROL

  AMERICA, LLC (“BusPatrol”), MIAMI-DADE COUNTY (“MDC”), and THE SCHOOL

  BOARD OF MIAMI-DADE COUNTY, FL (“School Board”) (collectively, “Defendants”). In

  support, Plaintiff alleges as follows:

                                           INTRODUCTION

         1.      This lawsuit arises from an alliance among Defendants, which implemented a

  school bus safety camera program (“Camera Program”). This Camera Program systematically

  issued over 120,000 traffic violation notices to unsuspecting drivers without providing a

  meaningful or accessible process to challenge these fines, in direct violation of the Plaintiff and

  the proposed Class’s right to procedural due process as guaranteed under the Fourteenth


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  Amendment of the United States Constitution. These actions not only deprived citizens of

  Miami-Dade County of their property without lawful justification but also enriched the

  Defendants at the expense of the public under questionable legal and ethical circumstances.

                             PARTIES, JURISDICTION, AND VENUE

         2.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, as this

  case involves a federal question under the U.S. Constitution and 42 U.S.C. § 1983.

         3.      Venue is proper in this Court under 28 U.S.C. § 1391 because a substantial part of

  the events or omissions giving rise to the claims occurred in this judicial district, and because the

  Defendants reside in this district.

         4.      Plaintiff Jorge Juan Rizo Olmea is a resident of Miami-Dade County, Florida.

         5.      Defendant BusPatrol America, LLC is a Delaware limited liability company that

  entered into a contract with MDC and the School Board to install and operate school bus safety

  cameras.

         6.      Defendant Miami-Dade County is a municipal entity responsible for law

  enforcement and traffic regulations through its agencies, including the Miami-Dade Police

  Department.

         7.      Defendant School Board of Miami-Dade County, Florida is responsible for the

  administration of educational services and operations within Miami-Dade County, including

  transportation services.

                                        FACTUAL ALLEGATIONS

         8.      Florida law makes it unlawful for motorists to pass a school bus that is displaying

  a stop signal until said signal is withdrawn. § 316.172, Fla. Stat.




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         9.      Florida permits a school district to contract with a private vendor or manufacturer

  to install a school bus infraction detection system on any school bus within its fleet, whether

  owned, contracted, or leased, and for services including, but not limited to, the installation,

  operation, and maintenance of the system, for the sole purpose of improving public safety. §

  316.173, Fla. Stat.

         10.     On January 17, 2024, Defendants entered into an Interlocal Agreement

  (“Agreement”), authorizing the enforcement of school bus stop signal violations and allowing for

  revenue generation from citations issued through a camera program.

         11.     Pursuant to agreements between the Defendants, BusPatrol: (i) acts under the

  color of Florida law, by performing the traditionally public function of enforcing Florida statutes;

  and (ii) has a close relationship with MDC and the School Board, which involves ongoing

  bilateral communications, the installation of equipment on vehicles owned and operated by the

  School Board, and revenue sharing.

         12.     The Agreement was executed without proper bid and review processes,

  prioritizing revenue over legal compliance and due process.

         13.     Under the Camera Program, BusPatrol installed cameras on school buses operated

  by the School Board at no cost, in exchange for 70% of the revenue received through fines

  imposed.

         14.     The Camera Program works by activating cameras installed on school buses when

  the stop lights are activated, and recording the license plate of vehicles passing in the opposite

  direction using video and still photographs.

         15.     BusPatrol purportedly sends video and pictures of passing vehicles to be

  evaluated by police officers.




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         16.     Police officers purport to review the video and still photographs and certify that

  the vehicle identified was operated in violation of Florida Statutes “based on an inspection of the

  recorded video and images showing the motor vehicle involved in the violation.”

         17.     A Notice of Violation (“Notice”) is then sent to the registered owner of the

  vehicle in the video and still photograph.

         18.     The Camera Program, managed by BusPatrol, has issued over 120,000 Notices, as

  of December 19, 2024, to drivers in Miami-Dade County.

         19.     Each purported violation of Florida law enforced through the Camera Program

  results in a fine of $225.00 (the “Civil Penalty”). § 318.18, Fla. Stat.

         20.     Since its inception, the Camera Program has generated $19.5 million from Civil

  Penalties; BusPatrol receives a 70% share of the revenue, and the School District receives a 30%

  share of the revenue.1

         21.     Plaintiff and the Class members received a Notice by U.S. Mail, which demanded

  “You are required to pay a civil penalty of $225.00 by the due date indicated on this Notice.”

  The Notice also includes a Police Department Certification, complete with a police officer’s

  name and identification number, statutory language, and a deadline to pay.

         22.     Further, the Notice threatens that failure to pay the demanded will result in the

  issuance of a Uniform Traffic Citation (“UTC”), which may require a court appearance.

         23.     The Notice also includes a section called Contesting Liability, where Plaintiff and

  the Class members “may request a hearing to contest liability or the Notice of Violation by

  completing and mailing the contestation form” included in the Notice.




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   https://www.miamiherald.com/news/local/education/article300615279.html (last visited March
  5, 2025).


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         24.     Although BusPatrol created the appearance of a mechanism to Contest Liability,

  upon information and belief, no substantive procedure was in place. As such, Defendants have

  failed to provide a process for those cited to attend a hearing and contest their Notices, thus

  effectively denying those that received a Notice their constitutional right to due process.

         25.     Despite numerous complaints and media coverage highlighting these issues,

  Defendants have made no substantial efforts to rectify the program or facilitate a fair contestation

  process.

         26.     This failure occurred despite public outcry and evidence suggesting many

  violations were incorrectly issued.

         27.     The absence of a substantive process to contest liability has caused financial and

  emotional harm to thousands of individuals unjustly cited by the program; many of whom paid

  the fine to avoid a UTC and a court appearance.

         28.     Defendants have financially benefitted from the fines collected under this flawed

  enforcement mechanism. These fines have been imposed and collected without due consideration

  of statutory compliance or the constitutional rights of the affected drivers, leading to significant

  unjust enrichment at the expense of thousands of citizens.

                   CLASS REPRESENTATIVE FACTUAL ALLEGATIONS

         29.     On January 22, 2025, Olmea received a Notice of Violation (NOV) (Notice #

  MDC-3740144) as part of the School Bus Safety Program, imposing a fine of $225.00.

         30.     Faced with the potential repercussions of a UTC and a deadline to pay by March

  6, 2025, Olmea reluctantly paid the fine.

         31.     Had there been an opportunity to contest liability, Olmea would have pursued a

  hearing to contest the Notice.




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         32.      Consequently, Olmea incurred unjust financial damages amounting to $225.00

  due to the lack of due process.

                                  CLASS ACTION ALLEGATIONS

         33.      Plaintiff brings this action on behalf of a class consisting of all individuals who

  have received unjust traffic violation notices from Defendants’ automated school bus camera

  enforcement program since its implementation.

         34.      The members of the Class are so numerous that individual joinder of all members

  is impracticable. Upon information and belief, the Class includes thousands of individuals who

  have been similarly affected by Defendants’ conduct.

         35.      Common questions of law and fact exist as to all members of the Class and

  predominate over any questions affecting only individual members. These common legal and

  factual questions include, but are not limited to:

               a. Common legal questions

                      i. Whether Defendants’ actions in enforcing traffic violations via automated
                         cameras without a proper appeal or mechanism to contest liability violate
                         the due process rights of Plaintiff and the Class.

                     ii. Whether Defendants have been unjustly enriched by retaining fines
                         collected from improperly issued traffic violation notices.

               b. Common factual questions

                      i. Whether the Plaintiff and the Class were provided a mechanism to contest
                         liability;

                     ii. Whether Plaintiff and the Class were fined the same amount of money.

         36.      The claims of the Plaintiff are typical of the claims of the Class. Plaintiff, like all

  members of the Class, was issued a traffic violation Notice based on the automated camera

  system and has been denied a fair opportunity to contest that notice.




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         37.     The Plaintiff will fairly and adequately protect the interests of the Class and

  retained counsel competent and experienced in class action and civil rights litigation.

         38.     A class action is superior to other available methods for the fair and efficient

  adjudication of this controversy.

         39.     The class (“Class”) comprises of:

         All persons similarly situated who have received a Notice from BusPatrol through
         the Camera Program operated jointly by Defendants, pursuant to which a civil
         cash penalty in the amount of $225.00 was imposed, that was due between the
         date of inception of the Camera Program and March 6, 2025.

                                       CAUSES OF ACTION

                             COUNT I – Violation of 42 U.S.C. § 1983
                         (against BusPatrol, MDC, and the School Board)

         40.     Plaintiff re-alleges and reaffirms herein all of the allegations contained in

  paragraphs 1 through 39.

         41.     Plaintiffs are drivers who are citizens of and reside in Florida.

         42.     Plaintiffs have a property interest in not being requested or compelled to pay

  improper and illegal fines that lack a lawful basis and due process for contestation.

         43.     At all relevant times, BusPatrol was contracted by the School Board and MDC to

  install and operate automated traffic enforcement systems aimed at detecting traffic violations

  around school buses.

         44.     BusPatrol, MDC, and the School Board undertook the challenged conduct

  pursuant to express contractual provisions regarding the enforcement of traffic laws and the

  issuance of fines.

         45.     BusPatrol, acting under the color of state law facilitated by its contract with

  Miami-Dade County and the School Board, denied each Plaintiff (and the Class) their property




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  interests by issuing unjustified traffic violation notices and, for some class members, collecting

  fines based on these notices.

          46.     The actions of BusPatrol, MDC, and the School Board violated clearly established

  constitutional rights that have existed in the United States since the drafting of the Constitution—

  specifically, the right to due process of law under the Fourteenth Amendment. Accordingly, the

  constitutional property rights were clearly established at the time these Defendants deprived the

  Plaintiffs and the Class of said rights.

          47.     Given the conduct described above, Plaintiffs’ and the Class’s rights to

  substantive due process (here Plaintiffs’ and the Class’s Fourteenth Amendment rights not to

  have their property—money—taken or be subject to attempts to take their property without a

  lawful basis) were violated by BusPatrol, Miami-Dade County, and the School Board, all acting

  under the color of state law.

          48.     Given the conduct described above, Plaintiffs’ and the Class’s rights to procedural

  due process (including but not limited to, a means by which Plaintiffs and the Class could

  receive sufficient notice, the right to an impartial arbiter, the right to give testimony and admit

  relevant evidence at hearings) were violated by BusPatrol, which acted under the color of state

  law as authorized by its contractual relationship with MDC and the School Board.

          49.     As a direct and proximate result of Defendants’ violation of 42 U.S.C. § 1983,

  Plaintiffs have suffered injuries and damages.

                                   COUNT II – Unjust Enrichment
                              (against Bus Patrol and the School Board)

          50.     Plaintiff re-alleges and reaffirms herein all of the allegations contained in

  paragraphs 1 through 39.




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         51.        By the acts alleged herein, BusPatrol and the School Board received a benefit

  from Plaintiff and the Class in the form of fines imposed on and collected from class members in

  the manner alleged herein.

         52.        The retention of that benefit by BusPatrol and the School Board would be unjust

  because the amounts were collected in a manner that violated Plaintiff and the Class’s due

  process rights.

         53.        By the facts alleged herein, equity demands that BusPatrol and the School Board

  disgorge themselves of this benefit and that the benefit be returned to Plaintiffs and the Class.

                                             CONCLUSION

         WHEREFORE, Plaintiff, Jorge Juan Rizo Olmea, individually and on behalf of all

  others similarly situated, demand:


     a. Certification of the proposed Class in paragraph 39;

     b. Appointment of the Named Plaintiffs as representatives of the Class;

     c. Appointment of the undersigned counsel as counsel for the Class;

     d. A judgment that Defendants’ actions, described fully above, violate 42 U.S.C. § 1983 and
        constitute unjust enrichment, requiring disgorgement of all fines paid to Defendants;

     e. An award to Plaintiffs’ Class of any monies paid pursuant to the unlawful conduct set
        forth herein, pre- and post-judgment interest, statutory damages, compensatory damages,
        exemplary damages, attorneys’ fees, costs, and litigation expenses, and punitive damages,
        as allowed by law, including § 1983;

     f. An order requiring Defendants to relieve any class members of the obligation to pay any
        outstanding fines demanded based on the unlawful conduct set forth herein; and

     g. For such other and further relief as this Court deems just and equitable.

  Date: March 5, 2025.




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                                                 Respectfully submitted,

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